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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 AKOUSTIS TECHNOLOGIES, INC.,
 AKOUSTIS, INC., CORNELL UNIVERSITY,
 AND CORNELL RESEARCH FOUNDATION, Civil Action No. 2:23-cv-180-JRG-RSP
 INC.,

               Plaintiff,
                                                      JURY TRIAL
        vs.

 QORVO, INC.,

               Defendant.


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        THE PARTIES HEREBY AGREE AND STIPULATE pursuant to Fed. R. Civ. P.

 41(a)(1)(A)(ii) that all claims, counterclaims, and affirmative defenses asserted by Akoustis

 Technologies, Inc., Akoustis, Inc., Cornell University, Cornell Research Foundation, Inc., and

 Qorvo, Inc. are to be dismissed WITH PREJUDICE.

        Each party shall bear its own costs and attorneys’ fees.

        IT IS SO STIPULATED.
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  Dated: December 6, 2024              Respectfully submitted,

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                             CERTIFICATE OF CONFERENCE

        Pursuant to Local Rule CV-7(i), I hereby certify that counsel for the parties have complied

 with the meet and confer requirement set forth in Local Rule CV-7(h) and this motion is jointly

 filed and unopposed.

                                                     /s/ John B. Campbell
                                                     John B. Campbell


                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing document has

 been served on all counsel of record via the Court’s ECF system on December 6, 2024.



                                             /s/ John B. Campbell
                                             John B. Campbell
